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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGlNlA
Alexandria Division
UNITED STATES OF AMERICA,
Criminal No. l:lS-CR-83

PAUL J. MANAFORT, JR.,
Defendant.

)
)
v. )
)
)
)
The matter is before the Court on the government’s motion to seal the govemment’s
motions for use immunity for the trial testimony of five potential witnesses, pursuant to Local
Criminal Rule 49(E) (Doc. 130).
For the reasons stated from the bench, and for good cause shown,
lt is hereby ORDERED that the government’s motion to seal the govemment’s motions
for use immunity is DENIED (Doc. 130). The Clerk is directed to unseal docket entries 133,
134,135, 136, and 137.
The Clerk is directed to send a copy of this Order to all counsel of record.

Alexandria, Virginia
July 23, 2018

 

'r. s. Enis, 111 "“
United States strict Judge

